              Case 4:22-cr-00199-SHL-HCA Document 74-10 Filed 02/01/23 Page 1 of 2


Leemkuil, Ryan (USAIAS)

From:                 Leemkuil, Ryan (USAIAS)
Sent:                 Monday, January 23, 2023 3:56 PM
To:                   Klinefeldt, Nicholas A.
Cc:                   Yaggi, Rachel A.; Shotwell, Mikaela (USAIAS); Kohler, Kevin T. (OM) (FBI)
Subject:              RE: US v. Wendt - Returning Brad Wendt's phone


Nick,

Regarding the phone that was seized from Mr. Wendt on January 11, the contents of the phone have been extracted but
have not been reviewed by the government. Given the potential presence of attorney‐client privileged material on the
phone, the government will employ a filter team to ensure any privileged material is removed prior to the prosecution
team reviewing the phone extraction. Regarding potential Garrity issues, is there something in particular you’re aware of
that may be on the phone that is a coerced statement within the meaning of Garrity? I’m aware of no authority for the
proposition that any statement a defendant makes after he knows he is being investigated for potential misconduct is
ipso facto a coerced statement under Garrity. If you’re aware of such authority, please share it. Short of that, however, if
there is something in particular on the phone that you think is protected under Garrity we would be happy to discuss
that further and take any appropriate measures in reviewing the phone. We will hold off on reviewing the phone until
we hear from you.

Regarding your client’s “other devices/accounts,” those were all obtained prior to the City becoming aware of Mr.
Wendt’s alleged misconduct. Thus, any statements your client made on those devices and accounts could not possibly
be protected by Garrity. I’m happy to consider any legal authority that you think says otherwise. These devices and
accounts have been reviewed (at least in part) by the prosecution team and we will not agree to cease that review based
on your below objections.

Thanks,
Ryan

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Friday, January 20, 2023 2:47 PM
To: Leemkuil, Ryan (USAIAS) <RLeemkuil@usa.doj.gov>
Cc: Yaggi, Rachel A. <rachel.yaggi@faegredrinker.com>; Shotwell, Mikaela (USAIAS) <MShotwell@usa.doj.gov>; Kohler,
Kevin T. (OM) (FBI) <ktkohler@fbi.gov>
Subject: [EXTERNAL] RE: US v. Wendt ‐ Returning Brad Wendt's phone

Ryan,

I would request that it just be delivered to my office and I will coordinate the return of it to Brad. In terms of privilege, as
you know, there are numerous issues with the review of my client’s devices and accounts, especially the phone you
recently seized.

In particular, we are concerned with both attorney‐client privilege and Garrity issues. As you know, I am not the only
attorney with whom Mr. Wendt communicates about this matter. Further, it is my understanding Mr. Wendt has
counsel in other matters. Likewise, as we have previously explained, there may be Garrity‐protected information on Mr.
Wendt’s devices as well as other current or former city officials’ devices.
                                                                                                        GOVERNMENT
                                                                                                          EXHIBIT

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             Case 4:22-cr-00199-SHL-HCA Document 74-10 Filed 02/01/23 Page 2 of 2

Accordingly, we object to any review of Mr. Wendt’s phone (or other devices/accounts) or current or former city
officials’ devices or accounts by the DOJ or any law enforcement agency unless and until we can address it with the
Court.

Can you please confirm your agreement to our request and explain what review has been completed thus far on any of
the above items?

Thank you.

Nick

From: Leemkuil, Ryan (USAIAS) <Ryan.Leemkuil@usdoj.gov>
Sent: Thursday, January 19, 2023 9:33 PM
To: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Cc: Yaggi, Rachel A. <rachel.yaggi@faegredrinker.com>; Shotwell, Mikaela (USAIAS) <Mikaela.Shotwell@usdoj.gov>;
Kohler, Kevin T. (OM) (FBI) <ktkohler@fbi.gov>
Subject: US v. Wendt ‐ Returning Brad Wendt's phone


This Message originated outside your organization.




Nick,

The FBI has finished processing Brad Wendt’s phone and would like to return it to him. Kevin Kohler is copied. Please
feel free to make arrangements directly with Kevin to return the phone to your client. Thank you.

Ryan Leemkuil
Assistant United States Attorney
Southern District of Iowa
515‐473‐9267
ryan.leemkuil@usdoj.gov




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